                  Case 8:20-cr-00434-PX Document 511 Filed 07/29/24 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND


   CHAMBERS OF

    Paula Xinis                                                                           6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                                                  Greenbelt, MD 20770
                                                                                                    (301) 344-0653


                                                July 29, 2024

              Re: 20-cr-0434, United States v. Schulman

                                             LETTER ORDER
      Dear Parties:

              On July 26, 2024, the Court held a motions hearing in the above-captioned case. This
      letter memorializes certain rulings.

              After consideration of the parties’ supplemental pleadings at ECF Nos. 501 & 502 and
      for the reasons stated on the record, the Court grants in part, denies in part, and defers in part
      ECF Nos. 287 & 353 Part III. The Court excludes Statement Nos. 2, 3 & 9; permits Statement
      Nos. 6 & 7 for the non-hearsay purpose of the effect on the listener; and defers ruling on whether
      Statement Nos. 7 & 11 are permitted for the truth of the matter asserted pursuant to Federal Rule
      of Evidence 801(d)(2)(e). See ECF No. 505.

             As stated on the record, the Court resolves ECF No. 359, and grants in part and denies in
      part ECF No. 402. The Court also denies as moot ECF Nos. 44, 220, 286, 318 & 424; and grants
      ECF Nos. 375, 378, 381 & 385.

             Last, Defendant Jeremy Schulman shall file a status report by August 9, 2024, providing
      the Court with an update on his conversations with Shulman Rogers, P.C. and the extent to
      which ECF No. 452 remains outstanding.

             Although informal, this correspondence constitutes an Order of the Court and shall be
      docketed as such.


              July 29, 2024                                       /s/
              Date                                                Paula Xinis
                                                                  United States District Judge
